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                                         Wednesday, 25 June, 2008 10:31:50 AM
                                                 Clerk, U.S. District Court, ILCD




                            s/ Michael M. Mihm
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